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15

16                                  UNITED STATES DISTRICT COURT

17                             NORTHERN DISTRICT OF CALIFORNIA

18                                       SAN FRANCISCO DIVISION

19

20   DANTE DEMARTINI, et al.,                            Case No. 3:22-cv-08991-JSC

21                          Plainti൵s,                   JOINT STATUS CONFERENCE
                                                         STATEMENT
22          v.
                                                         Status Conference Date: December 21, 2023
23                                                       Time: 9:00 a.m.
     MICROSOFT CORPORATION, a Washington
24   corporation,                                        Location: Zoom
                                                         Judge: Hon. Jacqueline Scott Corley
25                          Defendant.

26                                                       REDACTED

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                                    JOINT STATUS CONFERENCE STATEMENT
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 1           The parties through their undersigned counsel submit the following joint status report.

 2                                                I.      Case Status

 3   Plaintiffs’ Position:

 4           The Parties are preparing for trial to commence on February 5, 2023, assuming the Ninth Circuit

 5   rules on the pending appeals before then. The parties have begun meeting and conferring over a pre-trial

 6   schedule. However, the numerous issues that Microsoft raises in this joint statement were first discussed

 7   with Plaintiffs on the morning of December 14, 2023, the day the statement was due. Plaintiffs propose

 8   that the parties continue meeting and conferring over a pre-trial schedule and submit a joint filing by

 9   December 20, 2023, outlining the parties’ proposed pre-trial schedules.

10           With respect to Microsoft’s request to delay the February 5 trial day, Plaintiffs point out the

11   following:

12           First, Microsoft asserts that they have a trial conflict with another case. However, when the

13   February 5 trial date was set by this Court, counsel for Microsoft did not alert the Cout or Plaintiffs to

14   any conflict at that time. See Hr’g Tr. (Aug. 31, 2023) at 13:10–18. Moreover, the conflict that

15   Microsoft asserts is only a pretrial conference in another case.

16           Second, it is unclear when the Ninth Circuit decision on the pending appeals will come down,

17   but it appears that the Ninth Circuit is aware that a quick decision is important. There is no reason why

18   the Ninth Circuit orders on the Plaintiffs’ and the FTC’s appeals could not be issued in December or

19   January. Plaintiffs thus do not think it would be proper to postpone the trial date at this time, when the

20   Ninth Circuit decision may come out in December or January.

21           Third, Plaintiffs do not believe that the FTC’s renewed scheduling of its administrative hearing

22   on the acquisition after the Ninth Circuit issues its decision on the FTC’s motion for preliminary

23   injunction is relevant to this matter or its existing trial schedule. Plaintiffs brought suit for injunctive

24   relief in this Court before the FTC filed its own proceeding before this Court to enjoin the Acquisition.

25   Plaintiffs are entitled to pursue their own case, establish their own record, and make their own legal

26   arguments at trial, independent of any FTC proceedings. Indeed the Clayton Act enlists the assistance of

27   market participants as “private attorney generals” to “ ‘serve ... the high purpose of enforcing the

28   antitrust laws,’ ” Cargill, 479 U.S. at 129 & n. 6, 107 S.Ct. 484 (Stevens, J., dissenting) (quoting Zenith

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 1   Radio Corp. v. Hazeltine Research, Inc., 395 U.S. 100, 130–31, 89 S.Ct. 1562, 23 L.Ed.2d 129 (1969));

 2   see also United States v. Borden Co., 347 U.S. 514, 519 (1954) (holding that under Section 16 of the

 3   Clayton Act, private suits and governmental actions seeking identical injunctive relief, “may proceed

 4   simultaneously or in disregard of each other.”

 5   Defendant’s Position:

 6          Microsoft respectfully renews its request that the trial in this matter be continued to a later date.

 7   A continuance is appropriate for several reasons.

 8          First, as Microsoft has previously noted, its trial counsel are unavailable for a February 5 trial

 9   because it conÀicts with a trial in another matter, In re NFL’s Sunday Ticket Antitrust Litigation, No. 15-

10   ml-02668-PSG-JEM (C.D. Cal.), which has a pretrial conference set on February 7, 2024. ๠e trial

11   begins on February 22, 2024.

12          Second, postponing the trial date would avoid the ine൶cient duplication of labor by the parties

13   and the Court. ๠e Court previously indicated its intent to await guidance from the Ninth Circuit in its

14   decisions on the appeals pending in this case and the related matter, FTC v. Microsoft, Case No. 23-cv-

15   2880, before holding a trial. (See ECF 258 at 3:24–4:4, 4:20–4:22.) ๠e Ninth Circuit held argument on

16   those appeals on December 6, 2023. As of this ¿ling, the Ninth Circuit has not decided either appeal.

17   When it does, its decision (or decisions) may provide guidance on the contours of this case. Given the

18   imminent trial date, the parties will need to begin exchanging and ¿ling pretrial submissions very

19   soon—and those submissions will likely need to be revised or supplemented based on the Ninth

20   Circuit’s eventual decision. Postponing the trial would be far more e൶cient and ensure that the parties’

21   pretrial submissions are most helpful to the Court.

22          Microsoft also notes that if the Ninth Circuit were to rule before February 5, that would also

23   potentially trigger the start of an administrative trial before the FTC. Following this Court’s denial of a

24   preliminary injunction in FTC v. Microsoft, the Commission withdrew the matter from administrative

25   adjudication. Since then, the Commission has returned the matter to its docket, and ordered a hearing 21

26   days after the Ninth Circuit issues its decision in FTC v. Microsoft. Microsoft has asked the

27   Commission to modify the hearing date to account for trial counsel’s conÀict, mentioned above, but the

28   Commission has not ruled on that motion.

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 1          For these reasons, Microsoft requests the Court postpone the trial and defer scheduling a trial

 2   date until after the Ninth Circuit issues its decision(s). Doing so will allow the parties to tailor their

 3   pretrial submissions to any guidance that ruling provides. Because fact and expert discovery will be

 4   complete in February 2024, the Court would be able to promptly set a trial date and pretrial deadlines at

 5   that time, minimizing further delay.

 6                                       II.          Currently Pending Motions

 7          There are no currently pending motions.
 8                                             III.      Anticipated Motions
 9   Plaintiffs’ Position:
10          Plaintiffs request leave to file a motion seeking relief from Microsoft’s failure to timely produce
11   discovery materials. The issue stems from the following facts, which the parties have extensively met
12   and conferred about:
13      1. On February 3, 2023, this Court ordered Microsoft to re-produce to Plaintiffs everything that it
14          produced to the FTC in the FTC’s related action. See ECF No. 48 at 1 (“Microsoft shall produce
15          all documents produced in the FTC action to the extent it controls the documents.”).
16      2. The Court also ordered that Activision re-produce to Plaintiffs all materials that it had produced
17          to the FTC. See Hr’g Tr. (Jun 1, 2023) at 3:25–4:3 (“Microsoft and Activision, to the extent
18          there are documents that are still being produced in the FTC action, should continue to produce
19          those to the Plaintiffs.”). And Activision confirmed to Plaintiffs they would do so.
20      3. Microsoft began re-producing its FTC productions to Plaintiffs in February of 2023.
21      4. By March of 2023, Microsoft informed Plaintiffs that it had completed its reproduction of FTC
22          materials. See ECF No. 68 at 6.
23      5. From April 2023 to the present, Microsoft continued to make re-productions to Plaintiffs of the
24          re-fresh and newly produced FTC materials.
25      6. In oppositions to Plaintiffs’ motions to compel discovery, Microsoft represented to the Court that
26          it had complied with the Court’s order, and had re-produced to Plaintiffs everything that was
27          previously produced to the FTC.
28      7. For example, on August 25, 2023, Microsoft asserted that “[i]t is not a failing that the FTC

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 1      production, reproduced to Plaintiffs, was broad enough to cover the relevant subjects.” ECF 250

 2      at 6.

 3   8. Given that Plaintiffs are not a party in the related FTC action, Plaintiffs have no way of

 4      confirming or verifying whether Microsoft had in fact re-produced to Plaintiffs everything that

 5      they had produced to the FTC.

 6   9. On November 17, 2023, the parties met and conferred about a schedule for expert discovery.

 7      Microsoft pushed to have Plaintiffs report be due as quickly as possible. After some back and

 8      forth, the parties agreed to the following expert discovery schedule: (1) Plaintiffs’ expert report

 9      due December 12, 2023; (2) Microsoft’s expert report due January 12, 2023; and (3) Plaintiffs’

10      rebuttal report due January 24, 2023. See ECF No. 303.

11   10. On November 20, 2023, Microsoft then produced to Plaintiffs over 700 Gigabytes of data.

12      Microsoft asserted that (1) the materials would be used by Microsoft’s experts to support their

13      opinions; and (2) much of the materials was inadvertently not produced to Plaintiffs despite it

14      having been produced to the FTC in March, April, and May of 2023.

15   11. Between November 20 and December 6, 2023, Plaintiffs and Microsoft met and conferred by

16      email. Plaintiffs inquired into the facts and circumstances surrounding Microsoft’s failure of

17      production, and Microsoft has disclosed the following:

18          a. By November 16, 2023, Microsoft discovered that Activision had inadvertently not

19              produced to Plaintiffs certain materials that it had produced to the FTC, and that

20              Microsoft wished to rely on the materials in their expert report.

21          b. In discovering that Activision had not produced materials to Plaintiffs, Microsoft then

22              suspected that Microsoft also might have failed to produce materials that they had

23              previously produced to the FTC, and that Microsoft wished to rely on those materials in

24              their expert report.

25          c. Microsoft says it then discovered, On November 18, 2023, that Microsoft had failed to

26              produce voluminous materials to Plaintiffs that it had previously produced to the FTC in

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 1                  March, April, and May of 2023, and that Microsoft wished to rely on this material in its

 2                  expert report.

 3              d. Microsoft then produced the materials to Plaintiffs on November 20, 2023.

 4      12. Given the voluminous amount of materials, there was no way for Plaintiffs’ expert to analyze the

 5          new materials by the report deadline of December 12, 2023.

 6      13. Plaintiffs have been prejudiced by Microsoft’s failure to timely produce the materials that they

 7          had previously produced to the FTC.

 8      14. Microsoft represented to the Plaintiffs repeatedly that they had finished their re-production of the

 9          FTC materials in countless meet and confers.

10      15. Microsoft also represented to the Court that Microsoft had re-produced to Plaintiffs everything

11          that they produced to the FTC. See, e.g., ECF No. 250 at 6 (“It is not a failing that the FTC

12          production, reproduced to Plainti൵s, was broad enough to cover the relevant subjects.”). The

13          Court relied on Microsoft’s representations that they had timely completed their re-production of

14          the FTC materials in adjudicating discovery disputes.

15   Plaintiffs thus request leave to move to exclude the materials that Microsoft had previously produced to

16   the FTC in March, April, and May of 2023, but failed to timely produce to Plaintiffs, or to seek other

17   appropriate relief pursuant to Fed. R. Civ. P. 37(c)(1). See. e.g. Apple Inc. v. Samsung Elecs. Co., No.

18   11-CV-01846-LHK, 2018 WL 1586276, at *24 (N.D. Cal. Apr. 2, 2018)(Excluding expert reliance on

19   late produced data). Plaintiffs also ask for a verified confirmation from Microsoft that all materials

20   produced to the FTC have been produced to Plaintiffs.

21          Plaintiffs also request leave to file a letter brief on the issue of whether Microsoft’s motion for a

22   protective order to prevent the deposition of Satya Nadella should be granted. On August 31, 2023, the

23   Court ordered the Microsoft and Activision depositions to go forward. See Hr’g Tr. (Aug. 31, 2023).

24   Microsoft objected to the deposition of Satya Nadella under the so-called “Apex” doctrine, and

25   requested leave to brief the issue. Id. at 7:13–19. The Court held that Plaintiffs should wait until after the

26   other depositions concluded before briefing Microsoft’s Apex objection. Id. at 8:6–10. Microsoft and

27   Plaintiffs met and conferred in October and agreed that the parties would brief Microsoft’s objection to

28   the Nadella deposition after all the other depositions concluded, as requested by the Court, and that

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 1   Microsoft had no objection to scheduling Mr. Nadella's deposition after the close of fact discove1y if

 2   Microsoft's motion for a protective order was denied. Mr. Kotick's deposition-at the request of the
 3   witness-was postponed to December 1, 2023. On December 12, Plaintiffs' counsel sent Microsoft a

 4   letter regarding the deposition of Mr. Nadella. On December 14, Microsoft responded and requested that
 5   the paiiies meet and confer.
 6          Plaintiffs have info1med Microsoft that they would agree to limit the deposition to no more than

 7   three hours.
 8          Mr. Nadella has unique knowledge relevant to this matter. He represented Microsoft in

 9   negotiations and signed the acquisition documents on behalf of Microsoft. He is therefore a percipient
10   witness. As the Comi held during the hearing related to Mr. Kotick's deposition, Plaintiffs have "made a

11   showing that the CEO is a percipient witness. He signed the merger document after all." See Hr'g Tr.
12   (June 1, 2023) at 6. Moreover, Mr. Nadella has percipient knowledge about how Microsoft's gaming
13   business fits into Microsoft's larger plans and strategies related to Azure (Microsoft's cloud business)

14   and Windows. For example, in an email sent from Mr. Nadella to Mr. Spencer on July 18, 2022, Mr.
15   Nadella states that

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18                                     See Ex. A. Mr. Nadella then goes on to insti11ct Mr. Spencer regarding

19   two goals for the XBOX business, and then says that the merger with                                      Id.

20   Plaintiffs counsel asked Mr. Spencer about this email between Mr. Nadella and Mr. Spencer. Mr.
21   Spencer disputed what Mr. Nadella said and asse1ied that Mr. Nadella's statements in the email were not
22   tiue. Microsoft's counsel also objected to such questions on lack of foundation and speculation because

23   it was Mr. Nadella's statements, not Mr. Spencer's. Plaintiffs intend to ask Mr. Nadella about how
24   gaming supports and builds on Microsoft's other core ambitions in cloud and operating systems as

25   expressed in this and other emails, among other percipient facts.
26          Mr. Nadella also testified as a witness in the Depaiiment of Justice's antitrust case against
27   Google's monopoly of online seai·ch. Mr. Nadella testified regarding Google's abuse of size and
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 1   monopoly power, showing that Mr. Nadella has knowledge and experience with the harmful effects of

 2   exclusionary monopoly power.

 3          Plaintiffs have informed Microsoft of all of this previously. Plaintiffs therefore ask for leave of

 4   Court to submit a joint letter brief on Microsoft’s motion for a protective order to preclude the

 5   deposition of Mr. Nadella.

 6          With respect to Microsoft’s possible motion for summary judgment, Plaintiffs submit that such a

 7   motion would be unlikely to be necessary or limit issues since Plaintiffs claims are for injunctive relief

 8   under Sections 7 (15 U.S.C. § 18) and Section 16 (15 U.S.C. § 26) of the Clayton Act where the Court

 9   will be the sole trier of fact and law. Microsoft has not met and conferred with Plaintiffs about any

10   issues they believe are susceptible to summary judgment. Indeed, Microsoft says they are still

11   considering whether they want to file a summary judgment motion. Further, the Court has already held

12   that that Plaintiffs have antitrust standing as market participants here. Indeed, injury in fact is not

13   required for injunctive relief. Under Section 7, a showing that the effect of the acquisition “may be”

14   substantially to lessen competition, or to tend to create a monopoly is enough. 15 U.S.C. §18. And under

15   Section 16, injunctive relief is appropriate “against threatened loss or damage by a violation of the

16   antitrust laws”. 15 U.S.C. §26. No issue of standing remains here where the Court has previously found

17   Plaintiffs have antitrust standing.

18   Defendant’s Position:

19          Based on the development of the record so far, Microsoft is considering whether a motion for

20   summary judgment has the potential to narrow the issues for trial or avoid the need for a trial altogether.

21   Microsoft has completed fact witness depositions and recently received Plainti൵s’ expert report by

22   Professor Luis Cabral. ๠e uncertain and faraway nature of the claimed harms, in addition to Plainti൵s’

23   admissions that they are not even participants in certain markets, result in serious problems with

24   Plainti൵s’ standing to litigate their case. Plainti൵s’ expert report concedes that the potential for

25   anticompetitive harm is in a “more distant future” in certain markets. Moreover, Professor Cabral’s

26   report provides little if any quantitative evidence regarding Microsoft’s incentive to foreclose in any of

27   the alleged markets. Because the appropriateness of a dispositive motion could be impacted by the

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 1   Ninth Circuit’s rulings in this case and the FTC case, Microsoft believes the appropriate time to discuss

 2   these issues may be after those rulings are issued.

 3          Plainti൵s focus on two unripe discovery issues. First, Plainti൵s drastically misrepresent the

 4   course of events concerning the production of data, including the nature of the obligations to produce it

 5   at all. But the parties have not met and conferred to initiate the Court’s joint letter brief process. Indeed,

 6   Plainti൵s have been silent about this issue for over a week since Microsoft further explained the

 7   timeline, raising for the ¿rst time their requested remedy at 4:41 p.m. on December 14 (the day this

 8   statement was due). Microsoft is willing to participate in that process.

 9          Second, Microsoft disagrees that Plainti൵s can make a showing necessary to warrant the

10   deposition of Satya Nadella. Plainti൵s have had a month since the last Microsoft deponent, and two

11   weeks since Mr. Kotick’s deposition, and have not communicated any topics on which they need to

12   depose Mr. Nadella which have not already been covered by other testimony. But Microsoft is willing

13   to meet and confer with Plainti൵s about the speci¿c topics on which they claim to need to depose Mr.

14   Nadella.

15                                             IV.    Party Discovery

16   Plaintiffs’ Position:
17          Fact discovery closed on November 20, 2023, although depositions of witnesses have occurred
18   after the close of fact discovery. Pursuant to ECF 270, the parties met and conferred about an expert
19   discovery schedule. Microsoft states that “Plainti൵s requested an extension for serving their opening
20   expert report.” But that is not true. ๠e parties were required to meet and confer over an expert schedule
21   and the parties agreed to a schedule. See ECF 303. Microsoft’s misrepresentation on this point should be
22   ignored.
23   Defendant’s Position:
24          Fact discovery closed on November 20. ๠e parties have begun expert discovery. Plainti൵s
25   requested an extension for serving their opening expert report and were unable to serve it until
26   December 12. Accordingly, the parties have submitted, and the Court has entered, a stipulation
27   requesting that the expert discovery period be extended to February 5, to allow the parties time to
28   complete the necessary exchanges of reports and depositions. (ECF 303.)

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 1                                              V.      Trial Format

 2   Plaintiffs’ Position:

 3                  a. Time Limits

 4          Plaintiffs previously represented their case in chief could be presented in three days. With

 5   discovery now largely complete, Plaintiffs now estimate they can present their evidence to the Court in

 6   five days.

 7                  b. Pretrial Briefing

 8          A Trial Brief is appropriate in this matter. Plaintiffs submit that the Findings of Fact and

 9   Conclusions of Law can and should be made after evidence is presented.

10                  c. Live Witnesses at Trial

11          Microsoft asks the Court to limit Plaintiffs ability to call live witnesses at trial. Microsoft raised

12   this issue for the first time with Plaintiffs on the morning of December 14, 2023. The parties should

13   meet and confer over this issue so that legal authority affecting this issue can be raised.

14   Defendant’s Position:

15                  a. Time Limits

16          Plainti൵s previously represented that trial in this matter would be completed within three days.

17   (ECF 249 at 2.) Microsoft believes that the length of trial may be narrowed by summary judgment. But

18   if not, Microsoft agrees that three days is appropriate, and proposes that the parties split the time equally.

19                  b. Pretrial Brie¿ng

20          For e൶ciency, and given the Court’s familiarity with the facts of this matter, Microsoft proposes

21   the parties submit only pretrial ¿ndings of fact and conclusions of law (and not trial briefs). Given the

22   large number of con¿dential documents in this case, Microsoft requests the parties exchange pretrial

23   FOF and COL, and submit them to the Court before trial, but do not ¿le them publicly on the docket

24   until after the trial concludes. As in FTC v. Microsoft, Microsoft does not intend to include citations to

25   the record in the pretrial FOF and COL.

26                  c. Reliance on depositions and trial testimony from FTC v. Microsoft

27          Nearly all of the Microsoft employees who may be witnesses in this case live outside of

28   California, and are beyond the Court’s subpoena power, see Rule 45(c)(1). Microsoft does not intend to

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 1    Joint Proposed Final Pretrial Order                        January 26, 2024.
      Proposed Findings of Fact and Conclusions of Law           January 26, 2024.
 2
      Final Pretrial Conference                                  February 2, 2024.
 3    Bench Trial                                                February 5, 2024.
 4

 5
     Dated: December 15, 2023                      By:    /s/ Joseph R. Saveri
 6                                                           Joseph R. Saveri

 7                                                 Joseph R. Saveri (State Bar No. 130064)
                                                   Cadio Zirpoli (State Bar No. 179108)
 8                                                 Elissa Buchanan (State Bar No. 249996)
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16                                                 Plainti൵s’ Counsel
17

18    Dated: December 15, 2023                     By: /s/ Tania Rice

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20                                                 Tania Rice
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                                                   Jenna Pavelec
24                                                 Wilkinson Stekloff LLP
25
                                                   Counsel for Defendant Microsoft Corporation
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 1                                               Filer’s Attestation

 2          Each of the other Signatories have concurred in the filing of the document, which shall serve in

 3   lieu of their signatures on the document.

 4   Dated: December 15, 2023                             By:    /s/ Joseph R. Saveri
                                                                    Joseph Saveri
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      EXHIBIT A
    )LOHG 8QGHU 6HDO
